Case: 18-8022 Case
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                    United States Court of Appeals
                                    For the First Circuit
                                       _____________________
      No. 18-8022

       IN RE: LAWRENCE L. CRAWFORD, a/k/a JahJah Tishbite, a/k/a Jonah Gabriel, a/k/a JahJah
                                      Al Mahdi,

                                      Interested Party - Petitioner,

                                       ------------------------------

                             STUDENTS FOR FAIR ADMISSIONS, INC.,

                                        Plaintiff - Respondent,

                                                    v.

          PRESIDENT AND FELLOWS OF HARVARD COLLEGE; SARAH COLE; FADHAL
          MOORE; ARJINI KUMARI NAWAL; ITZEL VASQUEZ-RODRIGUEZ; KEYANNA
               WIGGLESWORTH; M.B.; K.C.; Y.D.; G.E.; A.G.; I.G.; R.H.; J.L.; R.S.,

                                      Defendants - Respondents,

                        BOARD OF OVERSEERS OF HARVARD COLLEGE,

                                              Defendant.
                                         __________________

                                                 Before

                                     Torruella, Lynch and Kayatta,
                                            Circuit Judges.
                                        __________________

                                             JUDGMENT

                                       Entered: August 27, 2019

             The petition is DISMISSED for want of jurisdiction. All pending motions are DENIED.


                                                          By the Court:

                                                          Maria R. Hamilton, Clerk
Case: 18-8022 Case
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      cc:
      Jon M. Greenbaum
      Lawrence E. Culleen
      Nancy Leeds Perkins
      Steven L. Mayer
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      Paul M. Sanford
      William Consovoy
      Patrick N. Strawbridge
      Felicia H. Ellsworth
      Seth P. Waxman
      Ara B. Gershengorn
      Joseph J. Mueller
      Paul R.Q. Wolfson
      Debo P. Adegbile
      Andrew S. Dulberg
      Elizabeth Connell Mooney
      Daniel Winik
      Sigmund D. Schutz
      Eric Grant Penley
      Dwight Gerard Duncan
      Natashia Tidwell
      Seth B. Orkand
      Matthew S. Hellman
      Kathryn R. Cook
      Janai Nelson
      Jin Hee Lee
      Sherrilyn Ann Ifill
      Rachel Kleinman
      Richard J. Rosensweig
      Sarah Elaine Harrington
      Derek Tam Ho
      Madeleine Kristine Rodriguez
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